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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
         v.
                                                1:19-CR-297-ELR-JSA
   T ODD C HRISLEY ( A / K / A M ICHAEL
   T ODD C HRISLEY ) AND
   J ULIE C HRISLEY




                 Unopposed Motion for a Garcia Hearing for
                 Defendants Todd Chrisley and Julie Chrisley


   The United States of America, by Byung J. Pak, United States Attorney, and
Thomas J. Krepp and Annalise K. Peters, Assistant United States Attorneys for
the Northern District of Georgia, files this Unopposed Motion for a Garcia
Hearing for Defendants Todd Chrisley and Julie Chrisley.
   On August 13, 2019, the grand jury returned an indictment against defendants

Todd Chrisley, Julie Chrisley, and Peter Tarantino alleging various violations of
criminal law. (Doc. 1). At the arraignment, attorney Bruce Morris represented
defendant Todd Chrisley while attorney Stephen Friedberg represented
defendant Julie Chrisley. (Docs. 10, 13).
   Attorneys Morris and Friedberg jointly represented Todd and Julie Chrisley
during the grand jury investigation. They also represented two of Todd and
Julie’s children – Chase Chrisley and Savannah Chrisley – both of whom were


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subpoenaed to testify before the grand jury in connection with the investigation.
Chase and Savannah ultimately testified before the grand jury while attorneys
Morris and Friedberg represented them.
   Because attorney Friedberg represented Todd Chrisley during the grand jury
investigation, his current client – Julie Chrisley – must be advised of her right to
conflict-free counsel. Likewise, because attorney Morris represented Julie
Chrisley during the grand jury investigation, his current client – Todd Chrisley –
must be advised of his right to conflict-free counsel. And both Todd and Julie

Chrisley must be advised that their attorneys represented witnesses who
provided testimony during the grand jury investigation and who are potential
witnesses at trial. Accordingly, the United States requests this Court conduct a
Garcia hearing to ensure that defendants Todd Chrisley and Julie Chrisley are
aware of their right to conflict-free counsel. See United States v. Garcia, 517 F.2d
272 (5th Cir. 1975).12 Defendants Todd Chrisley and Julie Chrisley have advised
through counsel that they do not oppose the granting of this motion.

   1Under Garcia, when an actual or potential conflict of interest exists, the Court
should personally advise the defendant of the potential dangers of representation
by counsel with a conflict of interest, give the defendant the opportunity to
question the Court regarding the nature and consequences of his legal
representation, and should ensure that the defendant (1) understands the nature
and scope of the potential conflict, (2) has the opportunity to discuss the matter
with his attorney and/or outside counsel, and (3) is voluntarily waiving the Sixth
Amendment protections. Id. at 278.
   2Decisions of the former Fifth Circuit issued before October 1, 1981, are
binding precedent in the Eleventh Circuit. See Bonner v. City of Prichard, 661 F.2d
1206, 1209 (11th Cir. 1981) (en banc).

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   For the reasons stated in this Motion, the United States requests this Court
hold a Garcia hearing for defendants Todd Chrisley and Julie Chrisley.



                                        Respectfully submitted,

                                        B YUNG J. P AK
                                            United States Attorney


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                             Certificate of Service

The United States Attorney’s Office served this document today by emailing a

copy to defense counsel:

                           Counsel for Todd Chrisley

                           Counsel for Julie Chrisley

                           Counsel for Peter Tarantino


August 23, 2019


                                        /s/ T HOMAS J. K REPP

                                        T HOMAS J. K REPP
                                        Assistant United States Attorney
